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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      CASE NO. 2:14cr425-MHT
                                              )             (WO)
DONALD RAY SMITH and                          )
PETRA SMITH                                   )

                              FINAL ORDER OF FORFEITURE

       WHEREAS, on November 19, 2014, this Court entered a Preliminary Orders of

Forfeiture (doc. nos. 49, 50) ordering defendants Donald Ray Smith and Petra Smith to forfeit

their interest in the following property: 1,590 counterfeit movie DVDs seized September 7,

2013, from booth #303 at the Santuck Flea Market, Santuck, Alabama.

       WHEREAS, publication of notice was not required pursuant to Rule G(4)(a) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions as the

property is worth less than $1,000 and the only potential claimants are the defendants. The

government gave defendants notice in the Indictment (doc. no. 1) that it would seek the forfeiture

of all property involved in the commission of the offenses in violation of 18 U.S.C. § 545; and,

       WHEREAS, the Court finds that defendants Donald Ray Smith and Petra Smith have an

interest in the property that is subject to forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B). The

United States has established the requisite nexus between such property in the commission of the

offenses in violation of 18 U.S.C. § 545.

       IT IS HEREBY ORDERED that the United States’ Motion for a Final Order of

Forfeiture (doc. no. 76) is granted as follows:
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       1.      The following property is hereby forfeited to the United States pursuant to 18

U.S.C. § 545: 1,590 counterfeit movie DVDs seized September 7, 2013, from booth #303 at the

Santuck Flea Market, Santuck, Alabama.

       2.      All right, title, and interest to the property described above is hereby condemned,

forfeited, and vested in the United States and shall be disposed of according to law;

       3.      The United States District Court shall retain jurisdiction in the case for the

purpose of enforcing this Order; and,

       4.      The Clerk of the Court shall forward a certified copy of this Order to the United

States Attorney’s Office.

       DONE, this the 30th day of April, 2015.




                                                    /s/ Myron H. Thompson
                                                  UNITED STATES DISTRICT JUDGE
